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                    IN THE UNITED STATES DISRICT COURT FOR THE
                   SOUTHERN DISTRICT OF IOWA (WESTERN DIVISION)

STACEY C. DELANCEY,                                                      )                     Case No. 1:13-cv-29
                                                                         )
                        Plaintiff                                        )           COMPLAINT AND REQUEST
                                                                         )              FOR JURY TRIAL
KNUDSON INVESTMENT CO. INC.,                                             )
an Iowa Corporation, KNUDSON                                             )
MANAGEMENT CO., INC., an Iowa                                            )
Corporation, CHRISTIE JOHNSEN,                                           )
Individually, and RICHARD KNUDSON,                                       )
Individually,                                                            )
               Defendants                                                )


                                                JURISDICTION	  AND	  VENUE	  
	  
            1.          Plaintiff	   Stacey	   DeLancey	   (hereinafter	   “Plaintiff”)	   seeks	   monetary,	  

declaratory	   and	   injunctive	   relief	   against	   Knudson	   Investment	   Company,	   Inc.,	  

(“Knudson	   Investment”),	   Knudson	   Management	   Co.,	   Inc.	   (“Knudson	   Management”)	  

Richard	   Knudson	   (“Knudson”)	   and	   Christie	   Johnsen	   (“Johnsen”)	   (hereinafter	  

referred	   to	   Collectively	   as	   “Defendants”)	   for	   violating	   the	   Fair	   Housing	   Act,	   as	  

amended,	   42	   U.S.C.	   §	   3601,	   et	   seq.	   (“FHA”),	   and	   the	   Iowa	   Civil	   Rights	   Act,	   Iowa	   Code	  

§ 216 et. seq. (“ICRA”) for	   violating	   the	   terms	   of	   a	   residential	   lease	   agreement	  

between	   Plaintiff	   and	   Defendants,	   for	   interfering	   with	   Plaintiff’s	   right	   to	   quiet	  

enjoyment	   of	   the	   leased	   premises,	   and	   for	   constructively	   terminating	   Plaintiff’s	  

residential	  lease	  with	  Defendants.	  

            2.          This	   Court	   has	   jurisdiction	   over	   this	   action	   pursuant	   to	   28	   U.S.C.	   §	  

1331	  and	  42	  U.S.C.	  §	  3613.	  

            3.          This	   Court	   has	   supplemental	   jurisdiction	   to	   determine	   Plaintiff’s	   state	  

law	   claims	   pursuant	   to	   28	   U.S.C.	   §	   1367	   and	   Iowa	   Code	   §	   216.16A(2)	   because	   the	  



	                                                                                                                                              1	  
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claims	  relate	  to	  Plaintiff’s	  federal	  law	  claim	  such	  that	  they	  form	  a	  part	  of	  the	  same	  

case	  or	  controversy	  under	  Article	  III	  of	  the	  United	  States	  Constitution.	  

                  4.                 Venue	   is	   proper	   pursuant	   to	   28	   U.S.C.	   §	   1391(b)(1)	   and	   (2),	   because	  

the	  claims	  alleged	  arose	  within	  the	  Southern	  District	  of	  Iowa.	  

                                                                                                  PARTIES	  

                  5.                 Plaintiff	   was	   at	   all	   relevant	   times	   a	   resident	   of	   and	   domiciled	   in	  

Council	   Bluffs,	   Iowa.	   	   Plaintiff	   suffers	   from	   post	   traumatic	   stress	   disorder,	   bipolar	  

disorder	   and	   psychosis	   and	   thus	   is	   a	   person	   with	   a	   disability1	  within	   the	   meaning	   of	  

42	  U.S.C.	  §	  3602(h)	  and	  Iowa	  Code	  § 216.2.	  

                  6.                 Defendants	   are	   engaged	   in	   the	   business	   of	   owning,	   operating,	  

managing	   and/or	   renting	   multifamily	   properties	   for	   residential	   use	   as	   defined	   in	   42	  

U.S.C.	  §	  3603(c),	  including	  the	  West	  Park	  Apartments	  located	  at	  2200	  2nd	  Avenue	  in	  

Council	   Bluffs,	   Iowa	   (“West	   Park”).	   	   The	   rental	   units	   at	   West	   Park	   are	   dwellings	  

within	  the	  meaning	  of	  42	  U.S.C.	  §	  3602.	  

                  7.                 At	  all	  times	  relevant	  herein,	  Defendant	  Knudson	  Investment,	  29	  South	  

Main	   Street,	   Council	   Bluffs,	   Iowa,	   was	   an	   Iowa	   Corporation,	   owned	   and/or	   operated	  

by	   Defendant	   Johnsen,	   its	   president,	   and/or	   Defendant	   Knudson.	   	   Knudson	  

Investment	  owned	  and	  operated	  West	  Park	  during	  all	  relevant	  times.	  	  

                  8.                 Defendant	   Knudson	   Management,	   29	   South	   Main	   Street,	   Council	  

Bluffs,	  Iowa,	  was	  at	  all	  times	  relevant	  an	  Iowa	  Corporation	  owned	  and/or	  operated	  

by	   Johnsen,	   its	   president,	   and	   Defendant	   Knudson.	   	   Knudson	   Management	   was	  

responsible	   for	   operating	   and	   managing	   rental	   properties	   owned	   by	   Knudson	  
	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
1	  The	  term	  “disability”	  has	  the	  same	  meaning	  as	  the	  term	  “handicap,”	  as	  defined	  by	  

42	  U.S.C.	  §	  3602(h).	  	  	  

	                                                                                                                                                                                                                         2	  
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Investment,	  including	  West	  Park	  Apartments.	  	  	  

            9.           Defendant	   Johnsen	   is	   an	   individual	   residing	   at	   3253	   Highway	   44,	  

Logan,	  Harrison	  County,	  Iowa.	  	  	  At	  all	  relevant	  times,	  Johnsen	  was	  the	  president	  of	  

Knudson	  Investment	  and	  Knudson	  	  Management.	  	  	  

            10.          Defendant	   Knudson	   is	   an	   individual	   residing	   in	   Nebraska.	   Defendant	  

Knudson	   was	   at	   all	   times	   relevant	   herein	  a	   property	   manager	   for	   Defendant’s	   rental	  

properties,	  including	  West	  Park	  Apartments	  in	  Council	  Bluffs,	  Iowa.	  

            11.          On	   or	   about	   December	   29,	   2013,	   Plaintiff	   and	   Knudson	   Investment	  

entered	   a	   one-­‐year	   lease	   for	   a	   two-­‐bedroom	   apartment	   unit	   at	   West	   Park	  

Apartments,	   commencing	   January	   1,	   2013	   and	   ending	   on	   December	   31,	   2013	   (the	  

“First	  Lease”).	  	  The	  First	  Lease	  prohibited	  Plaintiff	  from	  keeping	  animals	  or	  pets	  of	  

any	  kind	  anywhere	  on	  the	  premises	  at	  any	  time.	  	  

            12.          On	   or	   about	   March	   10,	   2013,	   Plaintiff	   and	   Defendants	   entered	   into	   a	  

lease	   for	   a	   different	   apartment	   unit	   at	   West	   Park	   (the	   “Second	   Lease”),	   which	  

superseded	   and	   replaced	   the	   First	   Lease.	   	   The	   term	   of	   the	   Second	   Lease	   had	   the	  

substantially	   the	   same	   terms	   as	   the	   First	   Lease	   and	   also	   prohibited	   Plaintiff	   from	  

keeping	  animals	  or	  pets	  of	  any	  kind	  anywhere	  on	  the	  premises	  at	  any	  time.	  	  	  

                                                     ALLEGATIONS	  OF	  FACT	  

            A.           Background	  

            13.          Plaintiff	  is	  a	  single	  mother	  of	  two	  children	  and	  an	  abuse	  survivor.	  	  Her	  

daughter	  is	  10	  years	  old.	  	  Her	  son	  Jas	  born	  on	  April	  7,	  2013.	  	  

            14.          Plaintiff	   suffered	   sexual	   abuse	   as	   a	   child	   and	   domestic	   abuse	   during	  

her	   previous	   marriage.	   	   She	   suffers	   from	   post-­‐traumatic	   stress	   disorder,	   which	  



	                                                                                                                                       3	  
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causes	  her	  to	  experiences	  night	  terrors	  and	  relive	  the	  trauma	  of	  her	  abuse.	  	  	  

               15.          At	   the	   time	   the	   parties	   entered	   into	   the	   first	   lease,	   Plaintiff	   was	  

diagnosed	   with	   post-­‐traumatic	   stress	   disorder,	   bipolar	   disorder	   and	   psychosis	  

(collectively	   referred	   to	   as	   “mental	   disabilities”).	   	   	   Plaintiff’s	   mental	   disabilities	  

caused	   her	   to	   experience	   intense	   anxiety,	   fatigue,	   depression	   and	   emotional	  

instability.	  	  	  

               16.          Plaintiff’s	   doctor	   recommended	   that	   Plaintiff	   live	   with	   a	   therapy	  

animal	  to	  help	  ameliorate	  the	  symptoms	  of	  her	  mental	  health	  impairments.	  	  Plaintiff	  

adhered	   to	   her	   doctor’s	   recommendation	   and	   purchased	   a	   therapy	   cat	   named	  

“Breezy”.	  	  	  	  

               B.	         Plaintiff’s	  Tenancy	  	  with	  Defendants	  	  	  

               17.          At	  all	  times	  relevant	  to	  this	  Complaint,	  each	  of	  the	  Defendants	  owned	  

and/or	   were	   responsible	   for	   maintenance,	   repair,	   replacement,	   administration,	  

operation	  and	  leasing	  of	  the	  units	  at	  West	  Park.	  

               18.          At	   all	   times	   relevant	   to	   this	   Complaint,	   Defendants	   enforced	   a	   strict	  

policy	  prohibiting	  residents	  from	  keeping	  pets	  on	  the	  premises	  of	  the	  Complex.	  

               19.          At	  the	  time	  Plaintiff	  entered	  into	  the	  First	  Lease	  with	  Defendants,	  she	  

told	  Defendants	  about	  her	  mental	  disabilities	  and	  the	  symptoms	  of	  her	  disabilities.	  	  	  

               20.          At	  the	  time	  Plaintiff	  entered	  into	  the	  First	  Lease	  with	  Defendants,	  she	  

asked	   Defendants	   to	   grant	   her	   a	   reasonable	   accommodation	   by	   waiving	   the	   “no	  

pets”	   policy	   and	   allowing	   her	   to	   keep	   a	   therapy	   cat	   in	   her	   apartment.	   	   She	   offered	   to	  

provide	  medical	  documentation	  to	  support	  her	  request.	  	  

               21.          Defendants	   refused	   to	   waive	   the	   “no	   pets”	   policy	   to	   allow	   Breezy	   to	  



	                                                                                                                                                   4	  
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live	  in	  Plaintiff’s	  apartment.	  	  Knudson	  told	  Plaintiff	  to	  wait	  for	  six	  months.	  	  	  	  

             22.          Plaintiff	   and	   her	   10-­‐year	   old	   daughter	   moved	   into	   an	   apartment	   at	  

West	  Park	  on	  December	  29,	  2012.	  	  Plaintiff	  was	  pregnant	  with	  her	  son	  at	  the	  time.	  	  	  

             23.          During	   her	   tenancy	   at	   the	   first	   West	   Park	   apartment,	   Plaintiff	   was	  

routinely	  disrupted	  by	  noisy	  neighbors	  who	  fought	  and	  smoked	  in	  their	  apartment.	  	  

Plaintiff	   complained	   to	   Defendants	   about	   the	   smoke	   and	   noise.	   	   Defendants	  

responded	  by	  asking	  her	  to	  move	  to	  a	  different	  apartment.	  	  	  

             24.          Plaintiff	   moved	   into	   a	   second	   apartment	   at	   West	   Park	   on	   March	   10,	  

2013.	   	   When	   she	   moved	   into	   the	   Apartment,	   Defendants	   told	   her	   that	   there	   were	  

mice	  in	  the	  apartment.	  	  	  	  

             25.          When	   Plaintiff	   and	   her	   daughter	   moved	   into	   the	   second	   apartment,	  

they	   discovered	   that	   large	   rats	   actually	   lived	   there.	   	   The	   rats	   made	   noise,	   crawled	  

through	   the	   apartment	   and	   apartment	   walls,	   and	   defecated	   all	   over	   the	   floors,	  

countertops	   and	   dishes.	   	   The	   Plaintiff’s	   daughter	   was	   so	  fearful	   of	   the	   large	   rats	   that	  

she	  would	  not	  go	  into	  the	  kitchen	  where	  the	  infestation	  was	  concentrated.	  	  

             26.          Plaintiff’s	  apartment	  also	  had	  a	  back	  door	  that	  would	  not	  open	  and	  a	  

broken	  windowpane	  that	  let	  cold	  winter	  air	  into	  the	  apartment.	  	  

             27.          On	  March	  30,	  2013	  Plaintiff	  complained	  to	  Defendants	  that	  rats	  were	  

in	   her	   apartment.	   	   Knudson	   told	   Plaintiff	   that	   he	   would	   send	   over	   a	   pest	   control	  

service	   to	   fix	   the	   problem	   on	   April	   5,	   2013.	  	   	   However,	  no	  pest	  control	   service	   came	  

to	  Plaintiff’s	  apartment	  on	  April	  5th.	  	  	  

             28.          On	   April	   23,	   2013,	   Plaintiff	   called	   Knudson	   and	   told	   him	   that	   the	   rat	  

problem	  had	  not	  been	  addressed	  or	  corrected.	  	  Knudson	  gave	  rat	  traps	  to	  Plaintiff	  



	                                                                                                                                              5	  
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and	  assured	  her	  that	  he	  would	  fix	  the	  problem	  soon.	  	  

            29.          On	  April	  26,	  2013,	  Plaintiff	  contacted	  Knudson	  again	  and	  told	  him	  that	  

the	   infestation	   problem	   had	   continued	   and	   that	   she	   could	   still	   hear	   rats	   crawling	  

through	  her	  apartment.	  	  Defendants	  failed	  to	  take	  any	  further	  action	  to	  correct	  the	  

rat	  problem.	  	  The	  infestation	  problem	  continued.	  	  	  

            30.          On	   April	   29,	   2013,	   Plaintiff	   notified	   the	   Defendants	   in	   writing	   that	   she	  

intended	  to	  vacate	  her	  apartment	  if	  they	  failed	  to	  correct	  the	  rat	  infestation.	  	  	  	  

            31.          The	   Plaintiff	   also	   complained	   about	   the	   locked	   door	   and	   broken	  

window	  but	  Defendant	  refused	  to	  fix	  the	  problem.	  

            32.          The	   rat	   infestation	   disrupted	   Plaintiff’s	   quiet	   enjoyment	   of	   her	  

apartment.	   	   The	   stress	   of	   living	   with	   rats	   aggravated	   the	   symptoms	   of	   Plaintiff’s	  

post-­‐traumatic	   stress	   disorder,	   bipolar	   disorder	   and	   psychosis.	   	   In	   March	   of	   2013,	  

Plaintiff	  had	  to	  check	  into	  a	  psychiatric	  unit	  for	  monitoring	  and	  evaluation.	  	  Due	  to	  

the	   stress,	   she	   gave	   birth	   to	   her	   son	   about	   one	   month	   before	   his	   due	   date.	   	   She	  

reasonably	  feared	  that	  rats	  in	  her	  apartment	  carried	  diseases	  that	  would	  infect	  her	  

newborn	  baby,	  who	  did	  not	  have	  adequate	  time	  to	  build	  up	  his	  immune	  system.	  	  	  

            33.          After	   approximately	   30	   days	   of	   Plaintiff	   complaining	   to	   Defendants	  

and	   asking	   them	   to	   fix	   the	   rat	   problem,	   Defendants	   still	   had	   not	   fixed	   the	   rat	  

problem	   in	   her	   apartment.	   	   In	   light	   of	   the	   health	   and	   safety	   issues	   posed	   by	   the	   rats,	  

and	   the	   negative	   impact	   it	   had	   on	   Plaintiff’s	   mental	   health,	   Plaintiff	   had	   no	   choice	  

but	  to	  vacate	  the	  premises.	  	  	  

            34.          On	  or	  about	  May	  5,	  2013,	  as	  a	  result	  of	  Defendants’	  failure	  to	  correct	  

the	  rat	  problem,	  Plaintiff	  moved	  her	  family	  out	  of	  the	  apartment	  to	  seek	  other	  living	  



	                                                                                                                                                    6	  
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arrangements.	   	   In	   May	   of	   2013,	   Plaintiff	   was	   forced	   to	   move	   her	   children	   into	   the	  

Stephen	  Center	  Shelter	  in	  Omaha,	  Nebraska	  for	  about	  ten	  days	  and	  the	  Micah	  House	  

in	  Council	  Bluffs,	  Iowa	  for	  about	  two	  weeks.	  	  	  	  	  

              35.           When	   Plaintiff	   vacated	   the	   premises,	   she	   sent	   Defendants	   a	   written	  

notice	   and	   request	   to	   return	   her	   damage	   deposit.	   	   Despite	   Plaintiff’s	   request,	  

Defendants	   wrongfully	   withheld	   her	   damage	   deposit	   of	   $550.00.	   	   Defendants	   also	  

wrongfully	   charged	   her	   an	   additional	   $150.00	   for	   alleged	   damages	   and	   costs	   to	  

clean	  her	  apartment.	  

              36.           As	  a	  result	  of	  Defendant’s	  conduct,	  Plaintiff	  suffered	  serious	  emotional	  

distress	  and	  was	  forced	  to	  check	  into	  a	  treatment	  center	  for	  a	  nervous	  breakdown.	  	  

Plaintiff’s	   daughter	   had	   to	   attend	   therapy	   sessions	   to	   cope	   with	   the	   trauma	   from	  

living	  with	  rats.	  	  	  

              37.           As	   a	   result	   of	   Defendant’s	   conduct,	   Plaintiff	   lost	   important	   housing	  

opportunities	  and	  other	  special	  and	  general	  damages.	  	  	  

              38.           Based	  on	  information	  and	  belief,	  Defendant	  has	  enforced	  its	  “no	  pets”	  

policy	  against	  other	  tenants	  residing	  at	  West	  Park.	  	  	  

                               COUNT	  I:	  	  VIOLATION	  OF	  FHA,	  42	  U.S.C.	  §	  3604	  
                                                                   	  
              39.           Plaintiff	   re-­‐alleges	   and	   herein	   incorporates	   by	   reference	   the	  

allegations	  set	  forth	  in	  paragraphs	  1-­‐38,	  above.	  

              40.           Plaintiff	  is	  an	  aggrieved	  person,	  as	  defined	  in	  42	  U.S.C.	  §	  3602(i).	  

              41.           The	   conduct	   of	   Defendants	   as	   described	   above	   including,	   but	   not	  

limited	   to,	   denying	   Plaintiff	   the	   opportunity	   to	   live	   with	   a	   therapy	   animal	   in	   her	  

apartment,	   ignoring	   her	   requests	   for	   an	   accommodation,	   placing	   her	   in	   an	  



	                                                                                                                                       7	  
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apartment	   unit	   infested	   with	   rats,	   and	   ignoring	   her	   requests	   to	   correct	   the	  

infestation	  problem	  and	  constructively	  evicting	  her	  amounts	  to:	  

                  a. A	  refusal	  to	  rent,	  making	  housing	  unavailable,	  and/or	  denying	  housing	  

                         on	  the	  basis	  of	  disability	  status	  in	  violation	  of	  42	  U.S.C.	  §	  3604(a);	  and	  	  

                  b. Discrimination	   in	   the	   terms,	   conditions	   or	   privileges	   of	   rental	   of	  

                         dwelling	  or	  in	  the	  provision	  of	  services	  on	  the	  basis	  of	  disability	  status	  

                         in	  violation	  of	  42	  U.S.C.	  §	  3604(b).	  	  	  

            42.          The	  discriminatory	  conduct	  described	  herein	  was	  intentional,	  willful,	  

and/or	  taken	  in	  disregard	  of	  Plaintiff’s	  rights.	  

            43.          Plaintiff	  has	  suffered	  injuries	  and	  damages	  as	  a	  result	  of	  Defendants’	  

conduct	   which	   will	   be	   shown	   at	   trial,	   including	   moving	   and	   relocation	   expenses,	  

undue	   hardship,	   great	   emotional	   distress,	   humiliation,	   embarrassment,	  

inconvenience,	  and	  loss	  of	  enjoyment	  of	  life,	  which	  entitles	  her	  to	  compensatory	  and	  

punitive	  damages.	  	  	  	  

                               COUNT	  II:	  	  VIOLATION	  OF	  42	  U.S.C.	  §	  3617	  
                                                                	  
            44.          Plaintiff	   re-­‐alleges	   and	   herein	   incorporates	   by	   reference	   the	  

allegations	  set	  forth	  in	  paragraphs	  1-­‐38,	  above.	  

            45.          The	   conduct	   of	   Defendants	   as	   described	   above	   including,	   but	   not	  

limited	   to	   constructively	   evicting	   Plaintiff	   and	   ignoring	   her	   requests	   for	   an	  

accommodation	   amounts	   to	   coercion,	   intimidation,	   threatening	   or	   interfering	   with	  

Plaintiff	  in	  the	  exercise	  or	  enjoyment	  of	  her	  rights	  granted	  by	  the	  Fair	  Housing	  Act,	  

as	  amended,	  in	  violation	  of	  42	  U.S.C.	  §	  3617.	  

            46.          The	  discriminatory	  conduct	  described	  herein	  was	  intentional,	  willful,	  



	                                                                                                                                             8	  
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and/or	  taken	  in	  disregard	  of	  Plaintiff’s	  rights.	  

             47.          Plaintiff	  has	  suffered	  injuries	  and	  damages	  as	  a	  result	  of	  Defendants’	  

conduct	   which	   will	   be	   shown	   at	   trial,	   including	   moving	   and	   relocation	   expenses,	  

undue	   hardship,	   great	   emotional	   distress,	   humiliation,	   embarrassment,	  

inconvenience,	  and	  loss	  of	  enjoyment	  of	  life,	  which	  entitles	  her	  to	  compensatory	  and	  

punitive	  damages.	  

                   COUNT	  III:	  	  FAILURE	  TO	  GRANT	  REASONABLE	  ACCOMMODATIONS	  

             48.          	  Plaintiff	   re-­‐alleges	   and	   herein	   incorporates	   by	   reference	   the	  

allegations	  set	  forth	  in	  paragraphs	  1-­‐38,	  above.	  

             49.          The	   above-­‐described	   conduct	   was	   a	   refusal	   to	   make	   reasonable	  

accommodations	  in	  Defendant’s	  rules,	  policies,	  practices,	  or	  services,	  which	  may	  be	  

necessary	   to	   afford	   Plaintiff	   an	   equal	   opportunity	   to	   use	   and	   enjoy	   a	   dwelling	   in	  

violation	  of	  the	  FHA.	  	  	  

             50.          Plaintiff	   demonstrated,	   and/or	   would	   have	   demonstrated	   but	   for	  

Defendant’s	  refusal	  to	  consider	  her	  request,	  to	  Defendants	  that	  her	  accommodation	  

request	  to	  live	  with	  a	  therapy	  animal	  in	  her	  Apartment	  was	  necessary	  to	  afford	  her	  

equal	   opportunity	   to	   use	   and	   enjoy	   her	   apartment	   because	   living	   with	   a	   therapy	  

animal	   would	   ameliorate	   the	   post	   traumatic	   stress	   disorder,	   bipolar	   disorder	   and	  

psychosis	  stemming	  from	  Plaintiff’s	  disability.	  	  

             51.          The	   requested	   accommodation	   would	   pose	   no	   undue	   financial	   and	  

administrative	   burden	   on	   Defendants	   nor	   would	   it	   require	   a	   fundamental	   alteration	  

of	  any	  kind	  to	  any	  rule,	  regulation	  or	  program	  operated	  by	  Defendants.	  	  	  

             52.          Without	   reasonable	   accommodation	   from	   Defendants,	   Plaintiff	   was	  



	                                                                                                                                    9	  
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forced	  to	  move	  out	  of	  the	  apartment	  unit.	  	  Such	  actions	  have	  had	  a	  detrimental	  effect	  

on	  her	  because	  of	  her	  disability.	  	  	  

            53.          The	  conduct	  described	  herein	  was	  intentional,	  willful,	  and/or	  taken	  in	  

disregard	  of	  the	  rights	  of	  others.	  

            54.          As	  a	  direct	  result	  of	  Apartment’s	  refusal	  to	  reasonably	  accommodate	  

Plaintiff,	   she	   is	   an	   aggrieved	   person,	   as	   defined	   in	   42	   U.S.C.	   §	   3602(i),	   and	   have	  

suffered	  injuries	  and	  damages	  as	  will	  be	  shown	  at	  trial.	  

            55.          Plaintiff	   has	   suffered	   injuries	   and	   damages	   as	   a	   result	   of	   Defendants	  

conduct	   and	   “no	   pets	   policy”,	   which	   will	   be	   shown	   at	   trial,	   including	   lost	   wages,	  

moving	   and	   relocation	   expenses,	   undue	   hardship,	   great	   emotional	   distress,	  

humiliation,	   embarrassment,	   inconvenience,	   and	   loss	   of	   enjoyment	   of	   life,	   which	  

entitles	  her	  to	  compensatory	  and	  punitive	  damages.	  

                          COUNT	  IV:	  VIOLATION	  OF	  IOWA	  CIVIL	  RIGHTS	  ACT	  
                                               IOWA	  CODE § 216 et seq.
                                                                	  
            56.          Plaintiff	   re-­‐alleges	   and	   herein	   incorporates	   by	   reference	   the	  

allegations	  set	  forth	  in	  paragraphs	  1-­‐38,	  above.	  

            57.          Plaintiff	  is	  an	  aggrieved	  person,	  as	  defined	  in	  Iowa	  Code	  § 216.16A(2). 	  

            58.          The conduct of Defendants as described above including, but not limited

to refusing to let Plaintiff live with a comfort animal and failing to eliminate the rat

infestation in her apartment, amounts to:	  

                   a. A refusal to rent or lease, making unavailable and/or denying housing on

                         the basis of disability in violation of Iowa Code § 216.8(1)(a) and §

                         216.8A(3)(a);	  

                   b. Discrimination in the terms conditions or privileges of rental of a dwelling


	                                                                                                                                      10	  
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                     or in the provision of services or facilities on the basis of Defendant’s

                     disability in violation of Iowa Code § 216.8(1)(b) and § 216.8A(3)(b); and	  

                c. A refusal to make reasonable accommodations in rules, policies, practices

                     necessary to afford equal opportunity to use and enjoyment of a dwelling

                     in violation of Iowa Code § 216A(3)(c)(2). 	  

        59.          The discriminatory conduct described herein was intentional, willful,

and/or taken in disregard of Plaintiff’s rights. 	  

        60.          Plaintiff has suffered injuries and damages as a result of Defendants

conduct which will be shown at trial including lost wages, moving and relocation

expenses, undue hardship, great emotional distress, humiliation, embarrassment,

inconvenience, and loss of enjoyment of life, which entitles her to compensatory and

punitive damages.	  

                       COUNT	  V:	  	  BREACH	  OF	  LEASE/WRONGFUL	  EVICTION	  
                                                              	  
        61.          Plaintiff	   re-­‐alleges	   and	   herein	   incorporates	   by	   reference	   the	  

allegations	  set	  forth	  in	  paragraphs	  1-­‐38,	  above.	  

        62.          Among	   other	   express	   covenants	   contained	   in	   Plaintiff’s	   lease	   with	  

Defendant	   Knudson	   Investment	   was	   the	   usual	   covenant	   of	   quiet	   and	   peaceable	  

enjoyment,	  whereby	  Defendant	  Knudson	  Investment	  gave	  and	  granted	  Plaintiff	  the	  

right	   to	   quiet	   and	   peaceable	   occupation	   and	   enjoyment	   of	   the	   leased	   premises	  

during	  her	  possession	  of	  the	  premises.	  

        63.          Plaintiff	   was	   not	   permitted	   by	   Defendants	   to	   peaceably	   occupy	   and	  

quietly	  enjoy	  the	  leased	  premises	  and	  was	  constructively	  evicted	  on	  or	  about	  May	  5,	  

2013.	  	  Thereafter,	  the	  Plaintiff	  was	  required	  to	  find	  a	  different	  living	  arrangement.	  



	                                                                                                                          11	  
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        64.             The	  acts	  of	  Defendants	  mentioned	  above	  amounted	  to	  a	  breach	  of	  the	  

terms	  of	  the	  first	  and	  second	  leases	  between	  Plaintiff	  and	  Defendant	  Knudson.	  

        65.             The acts of Defendants mentioned above were directed at the Plaintiff

were intentional, willful, wanton and/or taken in disregard of Plaintiff’s rights and/or

safety. 	  

        66.             As	   a	   result	   of	   Defendants’	   breach	   of	   lease	   terms,	   breach	   of	   the	  

covenant	  of	  quiet	  enjoyment	  and	  constructive	  eviction	  of	  Plaintiff,	  Plaintiff	  suffered

injuries and damages, in an amount to be shown at trial, but including moving and

relocation          expenses,           undue         hardship,           great       emotional            distress,        humiliation,

embarrassment, inconvenience, and loss of enjoyment of life, which entitles her to

compensatory and punitive damages.	  

                                                     PRAYER	  FOR	  RELIEF	  

            WHEREFORE,	  Plaintiff	  prays	  that	  the	  Court	  enter	  an	  ORDER	  that:	  

            1.          Declares	   that	   the	   actions	   of	   Defendants	   described	   above	   constitute	   a	  

violation	   of	   the	   Fair	   Housing	   Act,	   as	   amended,	   42	   U.S.C.	   §	   3601,	   et	   seq,	   and	   Iowa	  

Code	  § 216 et seq.;	  

            2.          Enjoins	  Defendants,	  including	  officers,	  employees,	  agents,	  successors,	  

assigns,	   and	   all	   other	   persons	   in	   active	   concert	   or	   participation	   with	   Defendants,	  

from	  violating	  any	  provision	  of	  the	  Fair	  Housing	  Act,	  as	  amended,	  42	  U.S.C.	  §	  3601,	  

et	  seq.,	  and	  Iowa	  Code	  § 216 et seq.;	  

            3.          Requires	   Defendants	   to	   take	   such	   affirmative	   steps	   as	   may	   be	  

necessary	  to	  eliminate	  the	  effects	  of	  its	  unlawful	  practices	  described	  herein;	  

            4.          Awards	  Plaintiff	  monetary	  damages	  including	  damages	  for	  mental	  and	  



	                                                                                                                                         12	  
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emotional	  distress,	  pursuant	  to	  42	  U.S.C.	  §	  3613(c)(1)	  and	  Iowa	  Code	  § 217A(6);	  	  

           5.         Awards	  Plaintiff	  punitive	  damages	  pursuant	  to	  42	  U.S.C.	  §	  3613(c)(1)	  

and	  Iowa	  Code	  § 217A(6) and § 668A.1;	  

           6.         Awards	   Plaintiff	   reasonable	   costs,	   expenses	   and	   attorney’s	   fees	  

pursuant	  to	  42	  U.S.C.	  §	  3613(c)(2)	  and	  Iowa	  Code	  § 217A(6);	  and	  

           7.         Declares	   that	   Defendants	   are	   in	   breach	   of	   the	   Lease	   with	   	   Plaintiff	   and	  

have	  specifically	  breached	  the	  implied	  covenant	  of	  quiet	  and	  peaceable	  enjoyment;	  	  

           8.         Awards	   Plaintiff	   compensatory	   and	   punitive	   damages	   for	   the	   loss	  

incurred	  as	  a	  result	  of	  Defendants’	  breach	  of	  the	  Lease	  provisions	  and	  the	  covenant	  

of	   quiet	   enjoyment,	   including	   attorney’s	   fees	   and	   costs	   and	   expenses	   relating	   to	   this	  

litigation.	  

           9.         Plaintiff	   prays	   for	   such	   additional	   relief	   as	   the	   interests	   of	   justice	   may	  

require.	  

           Plaintiff	  hereby	  requests	  a	  jury	  trial.	  

                                                     PLACE	  OF	  TRIAL	  
	  
The	  Plaintiffs	  request	  jury	  trial	  of	  this	  matter	  in	  the	  City	  of	  Council	  Bluffs,	  Nebraska.	  
	  
          Dated this 22nd day of November, 2013,

                                                                      STACEY C. DELANCEY, Plaintiff,

                                                                      By:          /s/_Todd A. West______________
                                                                                   Todd A. West, #26681
                                                                      of           Law Office of Todd West
                                                                                   P.O. Box 4703
                                                                                   Omaha, NE 68104
                                                                                   Phone: (402) 614-0185
                                                                                   Email: toddwestlaw@gmail.com




	                                                                                                                                         13	  
